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                                 Declaration of Harvey J. Graff
                                 (Pursuant to 28 U.S.C. § 1746)

       I, Harvey J. Graff, hereby declare and state as follows:

        1.      I am over the age of 18 and a resident of Columbus, Ohio. I have personal
knowledge of the facts set forth in this declaration and could and would testify competently to
those facts if called as a witness.
        2.     I am a Professor Emeritus of English and History, and the Ohio Eminent Scholar
in Literacy Studies at The Ohio State University.
        3.     I write as one of the most distinguished historians of literacy—reading and
writing—in the world. Author of many books and professional articles, until my retirement, I
was the inaugural Ohio Eminent Scholar in Literacy Studies at The Ohio State University, where
I founded and directed the unique, university-wide, interdisciplinary initiative
LiteracyStudies@OSU. I have been honored in Europe and South America as well as the United
States and Canada. My writings are translated into other languages. They include the landmark
The Literacy Myth; The Legacies of Literacy; The Labyrinths of Literacy; Literacy Myths,
Legacies, and Lessons; and in press now Searching for Literacy: The Social and Intellectual
Origins of Literacy Studies.
       4.      Closely related, I am one of the leading historians of children, youth, and families
in North America and Europe, and comparative U.S., Canadian, and European history. My 1995
book, Conflicting Paths: Growing Up in America, is considered a classic.
       5.     I speak from almost half a century of classroom teaching and close relationships
with young people and their intellectual, social, cultural, and emotional development as they
become maturing young citizens.
       6.       Finally, I speak with both professional and personal knowledge of most of the
works of literature that the radical banners seek to remove, hide, and even destroy.
        7.      I address today’s radical, unprecedented, unconstitutional, and inhumane
campaign to ban books in schools across the United States from multiple intersecting
dimensions. They span general scholarship, history, education, child studies and child
development, and respect for and knowledge of the law and the U.S. Constitution. They also
include understanding both the text and the legal and cultural traditions of “We the People” as
well as the political, social, and cultural concepts of “The American People” and “The Public
Welfare and Interest.” Importantly, they include the rights of children, for which we fought in
this country from the late 19th century well into the early 21st century.
Today’s campaigns

        8.       Today, campaigns by the radical right-wing are nationally organized, well-funded,
and blatantly ignorant of the very texts they wish to erase and cancel—even burn. These
campaigns also have no understanding of “The People,” “The American Public,” and “Public
Interest”; children’s development, paths of maturation, and the roles of reading; and the U.S. and
state constitutions, or—in example after example—the formal guidelines of school and local
libraries. This is the case in Missouri as across the nation.
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        9.      The banners—whether organized and provided with written scripts or acting in
isolation in response to viral social media posts—are a small, undemocratic minority of
Americans and parents. They speak for very few but speak loudly because of their dishonest
manipulation of racist, xenophobic, sexist, transphobic, and white supremacist fears and
grievances. Sadly, one of them may speak more loudly at local school board meetings than 20
calm, informed voices.
        10.    Those who challenge books do not always have children attending the schools
whose libraries they ransack. One of Texas’ loudest, most dishonest banners proclaims her
commitment to “protect her children.” But her two children graduated from high school before
her current campaign and attended the school while the books their mother attacks today sat
unquestioned on library shelves.
        11.     Among the dishonest tactics of the banners are these: Whether before a library
committee, a school board meeting, the media or social media, or letter to the editor or opinion
essay, they begin with reference to the slippery slope of the purported “age appropriateness” of a
given text. Within a minute or two, or a paragraph or two, without acknowledgement, they shift
to “appropriateness” without qualification. For example, they hop, skip, and jump typically from
ages 5 to 7 or 8, with a sudden leap to 5 to 18.
         12.   Out of a deeply rooted fear of loss of power that they may never have held, these
banners assault the human dignity, human rights, and legal rights especially of the young. Their
illegal campaigns are based on lies, manipulation, intimidation, and emotions, not on logical,
legal, or knowledgeable grounds. These forces of reaction and resentment have been growing
alongside the slow movement toward racial equality and integration for three-quarters of a
century. They rise to new heights today.
Local school boards and their circumstances

        13.      Denying their own legal responsibilities and evading serious constitutional and
child developmental issues, school authorities defend themselves as “avoiding divisiveness” or
“making everyone happy.” That is irrelevant to their most important jobs as educators and
parents: putting students and their learning first. Effective leadership demands consistent focus
on students. This is more important, not less so, in the face of extreme demands from a very few
parents. It calls for always centering decisions on all students’ rights and their realities—and the
needs of our inclusive public.
       14.      What we see in more and more school districts, including in Missouri, is not
spontaneous parental concern. Book banning is driven by social media, conservative websites,
and well-funded, right-wing political organizations that direct followers to target specific books.
These organizations provide scripts for activists to follow so they can remain ignorant of the
content of the very books they seek to ban.In banning campaigns, including the 15th- and 16th-
century Roman Catholic Counter Reformation against both emerging Protestants and radical
Catholics, the papal authorities and their allies read the offending texts before attempting to ban
or occasionally burn them.
      15.    Even the late-19th-century book banners, led by U.S. Postmaster General Anthony
Comstock and his New York City-based Committee for the Suppression of Vice, read the written


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and printed material they sought to restrict. Calling it pornography, their primary targets were
instructions and supplies for birth control.
        16.      Today, the now-humorous-in-hindsight, limited campaigns to “Ban (Books) in
Boston” pale in comparison. Those aspirational banners actually read the books. They proudly
used their literacy. They did not obsess over the reading audience—especially about children—
and targeted white male authors and characters much more often than women and Blacks. Their
targets included the now-classic novels Uncle Tom’s Cabin, The Call of the Wild, The Grapes of
Wrath, Of Mice and Men, To Kill a Mockingbird, 1984, Catcher in the Rye, Catch 22, as well as
The Color Purple, I Know Why the Cage Bird Sings, and Beloved, authored by Black women.

Current bans extend historical assaults on the rights of marginalized people

        17.     In the United States, periodic efforts broke out to ban books and means of access
to them—including access to reading itself. Sometimes centered on gender, more often on race,
but the attacks unfolded always in the context of politics, religion, society, culture, and
economics. White girls and women gained almost equal access to elementary schooling by the
mid-19th century, and secondary education more slowly. Women’s education was long justified
in terms of their roles as future mothers and educators—not restrictors or censors—of their
children.
         18.     Most egregious and long-lasting—and threatened again today—is both access to
literacy and the right to read by minority populations: Black, brown, Indigenous, LGBTQ, and
differently abled. Basic literacy was long withheld, often by law and force, from enslaved
people, free Blacks, and Native Peoples. That is why The Narrative of Frederick Douglass is
among the most powerful and triumphant testimonies in American literary history. It is on many
lists of targeted titles.
        19.      Not surprisingly, books by and about these peoples, including their young, and
their historical experiences are most often challenged, restricted, removed, and banned. Look at
the attack and hate lists of book banners across the United States and in Missouri. The banners
make their uninformed and distorted appeals, often in the form of performance in school board
meetings rather than via existing review processes. Their attacks offer few examples and
disregard the broader context of the books as works of literature.

Book bans are one weapon in an arsenal of intimidation tactics against public schools—and
their learners

        20.     A life-long secondary school English and language teacher near Fort Worth,
Texas, a Catholic woman with a Ph.D. in Humanities and university teaching experience, reports
to me: “A loud minority of our parents had gone berserk over ‘CRT’ (not teaching it) and gender
(not trying to change your child's gender) to the point of hiring picketers (people of color) to
protest outside the houses of certain teachers. They also rented paneled trucks with marquees to
protest the mask mandate (to ‘free our children’). One parent snatched the mask off the face of a
precious middle school teacher who had years ago fled war in Beirut, saying ‘don't be
ridiculous,’ and lower school parents screamed ‘you’re scaring our children’ at teachers in the
carpool line. Finally, our Head of School held a Town Meeting for parents and teachers. He
spoke for over an hour and, in no uncertain terms, told them that it had to stop. I don't know if it

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will, but he made himself clear about behavior that he has observed during his 5 years since he’s
been here: use of n-word, anti-Semitism in speech and graphics, misogyny toward students and
faculty (me), and homophobia…. I start teaching Homegoing next week. We shall see.”
Targeted books: If mature content is the concern, where are the white, male authors of
similar books that are also in libraries?

        21.     The targets, as in this case in Missouri, include Nobel Laureate, National Book
Award, and Pulitzer Prize-winning authors for decades on required reading lists and recognized
as an essential part of college preparation. Others are well-vetted, award-winning works of
young adult literature that have long been on library shelves with few, if any, challenges—until
now.
       22.     Not coincidentally, books on the same subjects by white and in particular male
authors are almost never challenged by these same groups. In the case of the Wentzville,
Missouri, removals, only one of all the books removed or threatened with removal is by a white
man. But that novel, Lawn Boy by Jonathan Evison, has a nonwhite, queer protagonist.
Book banners refuse to read the materials they attack
        23.    Participating in what I consider the “new illiteracy,” the book banners refuse to
read the books they wish to remove. Fallacies and contradictions abound in their justifications.
       24.     Removing stories that reveal painful aspects of human experience does not,
cannot, protect the young. That is a dangerous myth. Instead, removals impoverish learners by
depriving them of a socially and culturally safe way to examine, learn from, and mature from
confronting difficult issues. Reading and learning are gateways for engaging young minds and
supporting their understanding of diverse and conflicting human experiences. Generations of
young people and adults confirm this basic phenomenon.

Removals unconstitutionally circumvent established processes

        25.     School boards at all levels, and state leadership, including Missouri’s, must follow
established, constitutional policies. They must discuss with parents the diversity of experiences
that students bring to schools and the ways in which library materials meet the needs of a wide
range of young people, not just those who share the identities, experiences, and values of a
particular group of parents. They must resist pressure to allow the unconstitutional demand for
“parental freedom” that is actually an attempt to trample the rights of other parents with differing
views—and of the learners whom schools are obligated to put first.
        26.     To contradict these accepted intellectual and community standards elevates
extreme and narrow views of a small minority of parents over the professional discretion and
training of librarians and educators who focus on meeting the needs of the young. Failure to do
so cedes control of the educational process to individuals unwilling even to read the books they
challenge. This amounts to a public endorsement of the disenfranchisement of marginalized
students—and their families and communities—and an unconscionable disservice to the interests
of the public.

Libraries serve a range of learners. No book is “appropriate” for all.

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       27.     Long-time New Jersey school librarian and 2020 recipient of the American
Association of School Librarians’ Intellectual Freedom Award, Martha Hickson, speaks to
“What’s it like to be the target of a book banning effort?” Her answer, in the School Library
Journal (Feb., 3, 2022) is frightening. “The campaign came for me on September 28 (2021),
when parents launched an attack on Gender Queer by Maia Kobabe and Lawn Boy by Jonathan
Evison… ironically—or perhaps intentionally—during Banned Books Week.” The protesters
accused “BBW of promoting racism and homosexuality; and described me and the board as sex
offenders who push pornography on students.”
        28.    Despite the total falsity of these baseless assertions, Hickson’s “heart sank and my
pulse rose.” She needed medical attention and relief from work. The challenge to her school
board spread predictably to other books with minority and non-normative protagonists. She
“received hate-filled email. Book banners attempted to file a criminal complaint…. Students who
supported the book bans hid library books on LGBTQ topics so that others could not find them.
And administrators peppered me with accusatory questions, such as ‘How can books with
language like this be in our school?’”
        29.     Hickson’s physician ordered her to stop work, take medication for anxiety, and
referred her to a therapist to manage stress. “Ironically, that breaking point became the first step
toward fighting with renewed vigor.” By the October and November school board meetings,
“crowds [parents, educators, medical professionals, students] came out to oppose book
banning…. Most compelling were the LGBTQ+ students who spoke passionately about the need
for a school library that represents their lived experience.”
       30.     Unfortunately, that is not always the ending.
       31.      Among the greatest threats posed by attacks on youth’s access to books is their
deeply chilling effect. Will a librarian in a community beleaguered by book banners still order
the next teen sexual health guide or other books that might be “controversial” to a few fringe
parents, when they are highly recommended by library professional guides and other experts?
Reports of “soft censorship” multiply; they are as harmful as public attacks on literature. When
book bans succeed, officially and unofficially, young learners lose the fundamental literature and
information they need to become thoughtful readers and capable citizens.
Wentzville, Missouri, 2021-2022

       32.     Across the United States and in Missouri today, the dishonest, right-wing
campaigners—the new illiterates practicing their illiteracy—do not and perhaps cannot read the
books that are often classic, praised by educators and child development experts, popular among
children and youth, best-selling, and in-demand by both young and old.
       33.     In contrast to earlier waves of book banning, imitating other states and following
their marching orders on well-financed, right-wing websites, the Missouri banners almost
exclusively target books aimed at the young and nonwhite especially nonmale authors.
       34.     Consider the Wentzville list, and the flawed process at every step:

       The Bluest Eye, by Toni Morrison (removed by Board vote, despite Review Committee
          recommendation to retain)


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       Fun Home: A Family Tragicomic Paperback, by Alison Bechdel (removed by “weeding”
          process—failure to follow appropriate procedures)

       All Boys Aren’t Blue, by George M. Johnson (removed by “weeding” process—failure to
           follow appropriate procedures)

       Heavy: An American Memoir, by Kiese Laymon (removed by “weeding” process—
          failure to follow appropriate procedures)

       Lawn Boy, by Jonathan Evison (removed pending Review Committee and Board review
          and vote)

       Gabi, A Girl in Pieces, by Isabel Quintero (removed pending Review Committee and
          Board review and vote)

       Modern Romance, by Aziz Ansari & Eric Klinenberg (removed pending Review
         Committee and Board review and vote)

       Invisible Girl, by Lisa Jewell (removed pending Review Committee and Board review
           and vote)

The list and the fractured proceedings speak loudly and clearly about the lack of due process or
protection of students’, educators’, or librarians’ real interests.

Protecting children or projecting prejudices of a minority against the majority and all
children?

         35.     Following their scripts and damning books they have not read, today’s book
banners claim to be worried that “children” will be “triggered” by difficult themes. Trauma
experts and survivors refute these claims. Research, therapists, and personal testimony confirm
that literature provides spaces for readers to recognize and name injuries that they otherwise
struggle to identify in their own lives. And most of the condemned books focus on young people
struggling for dignity and joy amid the racism and sexism that surround the characters.
        36.      In opposition to constitutional standards, banners object to books on the basis of
their personal values; for example, insisting that a book like I Am Jazz be removed because it
suggests that a child can be born with a girl’s brain and a boy’s body. In contrast, transgender
activists point to the scientific consensus behind that perspective. Regardless, differing views do
not justify all students losing access to valuable books.

High school students are not “children”

        37.    High school students are not “children.” They are maturing young adults,
sometimes only months away from military service, full-time jobs or job training, relationships
with people from other communities, and university classes. Supreme Court cases affirm that
their First Amendment rights to open access to information, books, and other resources must not


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be restricted or removed on the basis of any one set of values or viewpoints. The unconstitutional
banners do not know this; their national sponsors reject the established laws of the land.
       38.    Where did the banners learn such illegitimate games? Not in elementary school
and probably not in high school. But from right-wing lessons in propagating disinformation,
sowing confusion, and seeking power that they fear they are losing.

Bans propel young people to unapproved reading

        39.     Bans redirect students away from materials educational professionals have
approved just as content that is not evaluated remains instantly available through the internet.
These facts amount to direct assaults on children and youth legally unable to defend themselves.
Despite unprecedented assaults on law, free speech, due process, and our long-developed
traditions, these banners ignore young people’s instantaneous access to unchecked content via
smart phones and tablets. Curiously, the banners show no awareness of this, among their many
omissions and contradictions. If mature material were their concern, they would focus there.
        40.     Perhaps in their endless, self-promoting, self-justifying, and fraudulent slogans
about “parental rights” and “protecting their children”—by severely limiting their ability to grow
up, learn, and mature—they really don’t care about children. The right-wing banners’ lies,
distortions, baseless claims, and fundamentally anti-conservative, unconstitutional overreach all
strongly suggest just that.
       41.     Despite the banners’ best efforts, we must maintain our focus on the young. They
have never been targeted like today. The stakes are life-threatening not life-affirming. The false
proponents of “parents’ rights” ignore, indeed assault children’s basic rights to learning for
development, identity, maturation, established freedoms, and responsible citizenship.
Young peoples’ rights to read, grow up, and mature—and the future of the nation

        42.      Conflicting with the ignorant claims of the banners, talented authors write books
that speak to a wide range of youth experiences so that the young may see themselves, and
others, in their full humanity. We need more of these books and widely available, not fewer.
Most parents, and almost all teachers, librarians, child development experts, counselors, and
therapists speak to this understanding regularly across all media.
        43.    Those of us who genuinely care about children must focus on real harm and
injustice—ignorance, unequal education, racism, child abuse, sexual assault, gender
discrimination, and homophobia—that are actual dangers in young people’s lives. And also focus
constructively on helping parents talk to their children about that ubiquitous portal to truly
objectionable material: the smart phone.
        44.    Doing that is too difficult for book banners. It demands a minimum degree of
humanity, knowledge and understanding of the law, books, reading, healthy child development,
and their own children. The majority knows this; our rights and all children’s rights cry out for
attention.




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I declare under penalty of perjury that the foregoing is true and correct.




                                                      Harvey J. Graff
                                                      Columbus, Ohio




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Graff, Harvey J.                                                               2022
                                     Curriculum Vitae

Personal
Citizenship: United States       Birthplace: Pittsburgh, Pennsylvania

Home Address:     2027 Indianola Avenue
                  Columbus, OH 43201
                  614-291-9388

Education
1970      Northwestern University, Bachelor of Arts, Honors in History (History and
          Sociology)
1971      University of Toronto, Master of Arts (History and History of Education)
1975      University of Toronto, Doctor of Philosophy (History and History of Education)
1973      Newberry Library Institute in Social, Demographic, and Family History, Certificate

Honors and Awards
1970      Phi Beta Kappa
1970-1971 Woodrow Wilson Fellowship
1971-1973 University of Toronto and Ontario Institute for Studies in Education Fellowships and
          Assistantships
1972-1974 Ontario Institute for Studies in Education Research Grants
1973      Newberry Library Institute Fellowship, Spencer and Mellon Foundations
1973-1975 Central Mortgage and Housing Corporation (Canada) Fellowship in Urban Studies
1976      National Endowment for the Humanities Summer Fellowship
1976-1977 University of Texas at Dallas Research Grants
1976      Texas Committee for the Humanities Program Grant
1976-1977 Mathematics Social Science Board and National Science Foundation Grant
1977      The Swedish Institute, Guest Scholarship
1977      Umeå University, Sweden, Guest Scholar
1978      American Council of Learned Societies, Grant-in-Aid
1978      Texas Committee for the Humanities Publication Grant
1979-1980 National Endowment for the Humanities Fellowship, The Newberry Library
1979-1982 Spencer Fellowship, National Academy of Education
1980-1981 Research Associate, The Newberry Library
1983-1985 University of Texas at Dallas, Research Grants (Doctoral Students)
1984      Peterson Fellowship, American Antiquarian Society (declined)
1985-1986 Newberry Library, Short-term Fellowship
1987-1989 University of Texas at Dallas, Research Grants (Doctoral Students)
1987      American Educational Studies Association Critics Choice Award
1988-1989 American Antiquarian Society/National Endowment for the Humanities Fellowship
1991,1992 Spencer Foundation Research Grants
1995      Nominated for the Grawemeyer Award in Education
1997-1998 University of Texas at Dallas Special Faculty Development Assignment for Research




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 1999-     University of Texas at San Antonio Faculty Awards for Research and Travel
 1999-2000 Social Science History Association, President; Vice President, 1998-1999
 2001      Doctor of Philosophy honoris causa, University of Linköping, Sweden, for
           contributions to scholarship
 2001      Swedish Bicentennial Research Fund, International Conference Grant (to University
           of Linköping)
 2001      Social Science History Association grant to prepare book from 25th anniversary
           meeting
 2002      University of Texas at San Antonio Faculty Development Leave for Research
 2004-     Ohio Eminent Scholar in Literacy Studies
 2004-     Literacy Studies @ OSU Initiative programming grants, College of Humanities
 2004-     Ohio State University, Institute for Collaborative Research and Public Humanities
               Award to found and develop the Literacy Studies Working Group
 2005-2006 Ohio State University, Arts and Sciences Colleges Interdisciplinary Curricular
            Enhancement Award (declined in favor of alternative funding)
 2006       Distinguished Lecturer, Mary Lou Fulton Endowed Symposium Series, Arizona
            State University
 2006-2008 Grant to Develop Graduate Interdisciplinary Specialization in Literacy Studies,
            Graduate School, Ohio State University
 2007       Special Research Assignment, Ohio State University
 2007-     Major funding to support LiteracyStudies@OSU: An Initiative, College of
               Humanities, with additional funds from Colleges of the Arts and Sciences,
               College of Art, College of Biological Sciences, College of Dentistry, Department
               of English, Department of Entomology, and University Libraries, The Ohio State
               University, to support an annual lecture
 2008-2010 Grant for Research and Creativity in the Arts and Humanities, OSU
 2010      Gartner Lecturer, Honors Program, Southern Methodist University
 2010      Distinguished Undergraduate Research Mentor Award, Ohio State University
 2011      Nominated for the Grawemeyer Award in Education
 2011      Masters of City and Regional Planning, CRP OneBook Program, and SPA Student
           Association Invitee, University of Texas at Arlington
 2011-12 Faculty Professional Leave, The Ohio State University
 2013      Social Science History Association Award for Unmatched Record of Participation in
               the Annual Meeting, 1976-2013 and Counting
 2013-14 Birkelund Fellow, National Humanities Center Fellow
               Center for Advanced Study in the Behavioral Sciences, Stanford University
               (declined)
 2014      Visiting Professor, Federal University of Minas Gerais and State University of
           Rio de Janeiro (UERJ) (CNPq)
 2015-2016 Center for Real Estate, Ohio State University, Research Grant
 2016      Nominated for the Grawemeyer Award in Education
 2016      Visiting Scholar, Dedman College Interdisciplinary Institute, Southern Methodist
               University
 2017      Harvey J. Graff, Literacy Studies, and Composition, Session at the Conference on
        College Composition and Communication, 2017




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 Professional Employment
 1973       Northwestern University, Summer School, Instructor
 1974-1975 Ontario Institute for Studies in Education, Extramural Lecturer
 1975-1998 University of Texas at Dallas, Assistant to Associate (with tenure) to Professor of
            History and Humanities
 1980       Loyola University, Chicago, Visiting Adjunct Professor, History
 1981, 1982 Simon Fraser University, Summer School, Visiting Professor, English and
            Education, English and History
 1998-2004 University of Texas at San Antonio, Professor of History; 1998- , doctoral faculty in
            Culture, Literacy, and Language, and English, graduate faculty in Public
            Administration; Director, Division of Behavioral and Cultural Sciences, 1998-1999
 2004-      Ohio State University, Ohio Eminent Scholar in Literacy Studies and Professor of
            English and History


 Publications
                                              Scholarly
                                               Books
 The Continuing Education of a Historian: The Intersections of the Personal, the Political, the
         Academic, and Place (forthcoming)
 Searching for Literacy: The Social and Intellectual Origins of Literacy Studies (London:
         Palgrave Macmillan, 2022)
 Undisciplining Knowledge: Interdisciplinarity in the Twentieth Century (Johns Hopkins
     University Press, 2015) [discussed at a session of the Social Science History Association,
     Baltimore, 2015; ); honored at a Book Celebration, Rochester Institute of Technology, 2016;
     featured in Inside Higher Education; Nature]
 Literacy Myths, Legacies, and Lessons: New Studies of Literacy (New Brunswick, NJ:
     Transaction Publishers, 2011)
 Understanding Literacy in its Historical Contexts: Socio-Cultural History and the Legacy of Egil
     Johansson, co-editor with Alison Mackinnon, Bengt Sandin, and Ian Winchester (Lund,
     Sweden: Nordic Academic Press, 2009) [expanded version of Interchange special issue, 33, 2
     (2003) with support from the Swedish Bicentennial Fund/Stiftelsen Riksbankens
     Jubileunsfond, Linkoping University, and Ohio State University]
 The Dallas Myth: The Making and Unmaking of an American, City (Minneapolis: University of
     Minnesota Press, 2008) [a trade book]) [discussed at a session at the Social Science History
     Association, Miami, 2008; Gartner Lecture, Honors Program, Southern Methodist
     University, 2010; Masters of City and Regional Planning, CRP OneBook Program, and SPA
     Student Association Invitee, University of Texas at Arlington, 2011]
 National Literacy Campaigns and Movements: Historical and Comparative Perspectives, co-
     editor with Robert F. Arnove, new edition with new introduction (New Brunswick, NJ:
     Transaction Publishers, 2008)
 Literacy and Historical Development, editor and contributor (Carbondale: Southern Illinois
     University Press, 2007)
 Looking Backward and Looking Forward: Perspectives on Social Science History, co-editor with
     Leslie Page Moch and Philip McMichael (Madison: University of Wisconsin Press,



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     2005)(BIS History and Theory, 2006)[presentations and discussion from special retrospective
     and prospective sessions at the 25th annual meeting of the Social Science History
     Association, 2000]
 “Teen Chicago,” special issue Chicago History, 33, 2 (2004), consulting editor and advisor
 “Understanding Literacy in its Historical Contexts: Past Approaches and Work in Progress,”
     special double issue, Interchange, 34, 2-3 (2003), co-editor with Alison Mackinnon, Bengt
     Sandin, and Ian Winchester [Papers from an international conference, Vadstena, Sweden,
     May 2002, “Egil Johansson, the Demographic Database, and Socio-Cultural History for the
     21st Century: Literacy, Religion, Gender, and Social History”]
 Alfabetismo di massa: mito storia realtà, in the series “Il Sapere Del Libro” (Milan: Edizioni
     Sylvestre Bonnard, 2002), [essays on the history of literacy, in Italian translation; series
     includes Roger Chartier, Robert Darnton, Anthony Grafton, Donald McKenzie]
 Dallas Public and Private by Warren Leslie (1964), co-editor with Patricia E. Hill (Dallas:
     Southern Methodist University Press, 1998) [new edition with new introduction]
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     Interdisciplinary History, 7 (1976-1977), 477-491 [reprinted in Crime and Justice in
     American History. 11. Theory and Methods in Criminal Justice History, Part 1, ed. Eric
     Monkkonen (Munich: K.G. Saur, 1992), 152-166].
 “Selected Bibliography: Urban, Social, Sociological, Demographic, and Quantitative History,”
     Canadian Social History Project, Report, 6 (1975- 1976), 1-16 [reprinted in Orillia, the
     Computer, and Social History, ed. Ian Winchester (Toronto: Ontario Institute for Studies in
     Education)].
 “Counting on the Past: Quantification in History — an essay review,” Acadiensis: Journal of the
     History of the Atlantic Region, 5 (1976), 115-129.
 “Respected and Profitable Labour: Literacy, Jobs and the Working Class,” in Essays in Canadian
     Working Class History, ed. Gregory S. Kealey and Peter Warrian (Toronto: McClelland and
     Stewart, 1976), 58-82, 202-207.
 “What the 1861 Census Can Tell Us About Literacy,” Histoire sociale/Social History, 8 (1975),
     337-347.
 “Literacy and History: Review Essay,” History of Education Quarterly, 15 (1975), 467-474.
 “Towards a Meaning of Literacy: Literacy and Social Structure in Hamilton, Ontario,” in
     Education and Social Change: Themes from Ontario’s Past, ed. Michael B. Katz and Paul
     Mattingly (New York: New York University Press, 1975), 246-270.
 “Crime and Punishment in the Nineteenth Century,” Canadian Social History Project, Report, 5
     (1973-1974), 124-162 [reprinted in Records of the Past: New Sources in Social History, ed.
     Edward Jackson and Ian Winchester (Toronto: Ontario Institute for Studies in Education,
     1979), 171-203].
 “Introduction” to “Literacy Studies in Sweden,” by Egil Johansson, in ibid., 85-88 [reprinted in
     Records of the Past, ed. Jackson and Winchester, 207-210].
 “Literacy and Social Structure in Elgin County, Canada West,” Histoire sociale/Social History, 6
     (1973), 25-48.
 “Patterns of Adolescence and Child Dependency in the Mid-Nineteenth Century City: A Sample
     from Boston, 1860,” History of Education Quarterly, 13 (1973), 129-143.
 “Towards a Meaning of Literacy: Literacy and Social Structure in Hamilton, Ontario,” History of
     Education Quarterly, 12 (1972), 411-431.
 “Approaches in the Historical Study of Literacy,” Urban History Review, 1 (1972), 6-11.




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 “Notes on Methods for Studying Literacy from the Manuscript Census,” Historical Methods
    Newsletter, 5 (1971), 11-16.

 “President’s Report,” Social Science History Association Newletter, Winter 2000 & Summer
    2000.

                                  Retirement letters and essays. 2021-

 Kirwan Institute
 Zayed University, United Arab Emirates

 Letters to the Editor
         Ohio Republicans, Columbus Dispatch, Mar. 9, 2021
         Dave Yost, Cleveland Plain Dealer, April 1, 2021
         Voter ID laws, Columbus Dispatch, April 16, 2021
         Ohio covid response, Cleveland Plain Dealer, Apr. 19, 2021
         Ohio policy failures , Columbus Dispatch, May 14, 2021
         Republicans imitate other states, Cleveland Plain Dealer, May 16, 2021
         Covid policy making, New York Times, May 18, 2021
         Troy Balderson , Columbus Dispatch, May 22, 2021
         Dave Yost v. American history, Cincinnati Enquirer, May 30, 2021
         State legislators and critical race theory, Cleveland Plain Dealer, June 27, 2021
         Vaxx-A-Million, Columbus Dispatch, July 12, 2021
         VAX-A-NICKEL, The Lantern, Aug. 18, 2021
         Why aren’t Ohio’s GOP officials taking action to address AAPI hate ? Cleveland Plain Dealer,
                  Aug. 25, 2021
         Where is the Ohio Democratic Party? Toledo Blade, Aug. 29, 2021
         Ohio State Republicans continue to imitate increasingly recklessly , Cleveland Plain Dealer,
                  Nov 17, 2021
         The CDC stumbles again, Washington Post, Jan. 3, 2022
         Essay critical of Louis Menand’s book review is disappointing, Chronicle of Higher Education,
                  Jan. 12, 2022

 Essays
 “Celebrating Jan Reiff,” UCLA History Dept. Tribute, May 24 2021
 “Republicans assault fact-based American history and promote popular ignorance,”
          Columbus Dispatch May 28, 2021
 “DeWine’s covid blunders and the failure of VAX-A-MILLION,” Columbus Dispatch June 25,
         2021
 “Columbus’ identity crisis and its media,” ColumbusUnderground, July 23, 2021
 “The attack on critical race theory threatens our democracy,”Inside Higher Education , Aug. 2,
         2021
 “Remembering Mike Rose in person and in print,” Inside Higher Education, Aug. 18, 2021,
         UCLA Graduate School of Education and Information Science Tribute
 “There Is No Debate About Critical Race Theory: How a network of GOP politicians and
         conservative activists are trying to create controversy where there is none,” Washington
         Monthly, Sept. 4, 2021; reposted Columbus Free Press, Sept. 2021
 “Interdisciplinarity is not about the humanities aping the sciences,” Times Higher Education,
         Sept. 7. 2021



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 “Colleges can learn from sports figures about mental health,” Inside Higher Education , Sept. 13,
         2021
 “The decline of a once vital neighborhood: Columbus’ University District,” Columbus Free
         Press, Sept 14, 2021
 “For Ohio State, bigger is not better,” Columbus Free Press, Sept. 16, 2021
 “A post-retirement career as a public academic meets the moment’s need,” Times Higher
         Education, Sept 18, 2021
 “The New White Fright and Flight and the Critical Race Theory Nondebate,” Academe Blog
         Sept. 29, 2021
 “Ohio’s elected Republicans fail their public.” Columbus Free Press, Oct. 2, 2021
 “Columbus’ University District: Students and the institutions that fail them,” Columbus Free
         Press, Oct. 8, 2021
 “Governor Mike DeWine’s Continuing Covid Failures: The Ohio Tragedy,” Columbus Fress
         Press, Oct. 13, 2021
 “Civics tests should be required to hold public office,” Inside Higher Education, Oct. 21, 2021
 “Notes on current politics in Columbus and Ohio: Thoughts in response to questions from my
         editor,”Columbus Free Press, Oct. 21, 2021
 “America First: An Excavation of Trumpism and the Trump Agenda,” Columbus Free Press,
         Oct 24, 2021
 “Ohio Education Promotes Racism and Restricting Equity, Again,” Columbus Free Press, Oct.
         27, 2021
 “History lessons can help disciplines to survive,” Times Higher Education, Oct. 30, 2021
 “OSU isn’t having a crime crisis; it’s having a leadership crisis,” Busting Myths, Columbus Free
         Press, Nov 2, 2021
 “Response to Columbus Alive, “The list: Reasons that Columbus Underground opinion piece is
         trash,” by Andy Downing and Joel Oliphint, Columbus Alive, July 26: A visit to
         journalism fantasy land,” Busting Myths, Columbus Free Press, Nov. 7, 2021
 “‘Update’ to Ohio State isn’t having a crime crisis,” Busting Myths, Columbus Free Press,
         Nov. 13, 2021
 “Ross Douthat wouldn’t know a new college from old,” Academe Blog,Nov 17, 2021
 “An Open Letter to the Ohio Democratic Party: Where are you and why have you lost touch with
         D/democracy?” Busting Myths, Columbus Free Press, Nov. 17, 2021
 “Columbus City Government is Undemocratic and Disorganized: It’s 2021 and we need a
         revolution in this city,” Busting Myths, Columbus Free Press, Nov. 20, 2021
 “Young heroes: For Thanksgiving,” Columbus Free Press, Nov. 25, 2021
 “Gov. DeWine abandons science and the public,” Busting Myths, Columbus Free Press, Dec. 1,
         2021
 “The Ohio State University promotes public health crises,” Busting Myth, Columbus Free
         Press, Dec. 6, 2021
 “DeWine whines about critical race theory,” Busting Myths, Columbus Free Press, Dec. 11,
         2021
 “Marketing the second biggest lie: The Faith & Freedom Caucus vs. American history &
         Christianity,” Busting Myths, Columbus Free Press, Dec. 14, 2021
 “The triumph of the new ‘fake news’ in the legitimate press,” Busting Myths, Columbus Free
         Press, Dec. 19, 2021
 “Columbus searches for its Downtown with historical, urbanist, and developers’ blinders,”




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        Busting Myths, Columbus Free Press, Dec. 22, 2021
 “How conservative opinion writers fail their readers,” Busting Myths, Columbus Free Press,
        Dec. 25, 2021
 “My New Year’s wish list: Media misconceptions and the ten minute historical memory,”
        Busting Myths, Columbus Free Press, Dec. 29, 2021
 “Gov. DeWine abandons science and the public,” Washington Monthly, Dec. 31, 2021
 “Know Nothings: A scholar and author examines the banning of books, past and present,”
        Publishers Weekly, Jan. 3, 2022/”Harvey J. Graff Examines the History of Book
        Banning” online, Dec. 31, 2021
 “Texas and Florida secede from reality; Ohio imitates,” Busting Myths, Columbus Free Press,
        Jan. 4, 2022
 “Columbus, Ohio, searches to be a city: The myth of the Columbus Way,” Busting Myths,
        Columbus Free Press, Jan. 9, 2022
 “The Banality of University Slogans. Whether its ad campaigns for football season, gauzy
        reports from the provost, or rhetoric from the school’s president, higher education
        abounds with empty rhetoric,” Washington Monthly, Jan. 10, 2022
        Discussed and excerpted in Hank Reichman, “Per Aspera ad Astra,” Academe Blog, Jan.
        10, 2022
 “The dilemmas of disciplines going public,” Inside Higher Education, Jan. 13, 2022
 “Can we resurrect our ‘founding’ faith in the American ‘People’?” Busting Myths,
        Columbus Free Press, Jan. 15, 2022
 “Slogans don’t substitute for universities policies and programs: they represent their
        absence,” Times Higher Education, Jan. 17, 2022
 “Sloganeering and the limits of university leadership,” Academe Blog, Jan. 2022
 “The Columbus Dispatch: The decline of a metropolitan daily newspaper,” Busting Myths,
        Columbus Free Press
 “Banning Books, the New Illiteracy, and the Assault on All Our Children,” with Ashley
        Hope Perez
 “The Other Immigrants and Diverse American Dreams, with Ameer Abdul,” Busting
        Myths, Columbus Free Press,
 “The Media Mangle the Big Lie and the Nondebate over Critical Race Theory,”
        Busting        Myths, Columbus Free Press, Jan. , 2022
  “The new battle of the books: 1619 vs. 1620, 1776, and 1836,” Publishers Weekly,
 “Teaching outside the box: A retired professor’s continuing education,” IHE
 “The Misrepresentation and Marketing of “Financial Literacy”: The Fallacies and
        Dangers of FL4ALL,” Busting Myths, Columbus Free Press
 “The disappearance of journalistic standards in opinion essays as they replace the news,”
        Busting Myths, Columbus Free Press
 “1619 vs. 1620, 1776, and 1836: How many ‘projects’ does it take to obfuscate a truly
        American history?” Magazine of American History/Columbus Free Press
 “The U.S. and Canada: Confronting the past in the present,” Busting Myths, Columbus
        Free Press/Magazine of American History
  “The politicians on the ‘project’ of remaking American history: Should Ivy League”
        graduates know better?” Busting Myths, Columbus Free Press
 “Universities in 2021: Beyond Nicholas Dirks and “reconciling the two cultures,” IHE
 “Subdisciplines and Interdisciplinarity,” IHE




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 “Interdisciplinarity in the 21st century: from Undisciplining Knowledge to
        LiteracyStudies@OSU,” THE
 “The humanities are lost in a historical maze at least partly of our own making”
 “A citizen vs. Postmaster Louis DeJoy and his crippling of the U.S. Postal service,” WaMo

                               Journalism and Local Articles to 2015
 “An Education in Sloganeering,” Wall Street Journal, Oct. 1, 2015
  “How misguided university policies are harming the humanities, arts and sciences,” Inside
         Higher Education, December, 18, 2015
 “Early-college programs lack many benefits of the real thing,” Commentary, with Steve Rissing,
         Columbus Dispatch, June 7, 2015
 “Throwing the Baby Out With the Interdisciplinarity Bath Water,” letter to the editor, Chronicle
         of Higher Education, June 12, 2014
 “Booktalk,” Ohio State University, On Campus, October, 2012
 “The Troubled Discourse of Interdisciplinarity,” letter to the editor, Chronicle of Higher
         Education, Feb. 5, 2010
 “Not Your Mother’s Literacy, But Perhaps Your Daughter’s” with Susan Hanson, English @
         OSU, 2,1 (Spring 2008)
 “Alamo City’s Different Futures,” Insight, San Antonio Express-News, June 24, 2001.
 “City must create own mold for public universities,” San Antonio Express-News, Aug. 23, 1998.
 “Race between San Antonio, Dallas like fabled tortoise and the hare: Commentary,” San Antonio
     Express-News, Dec. 31, 1997.
 “How Can You Celebrate a Sesquicentennial If You Have No History? Reflections on Historical
     Consciousness in Dallas,” essay commissioned by the Dallas Morning News for Texas State
     Sesquicentennial, 1986.
 “Basic Education” and “Youth,” Issues and Alternatives: A Guide to the Policy Maker (Dallas:
     Dallas Public Library, Public Interest Information Network, 1979).
 “Reviews in Southwestern History,” Texas Books in Review, 2 (1978).
 City of Dallas Historic Landmarks Publications: “Swiss Avenue Historic District,” 1978; “Old
     Fair Park Fire Station,” 1978; “Union Station,” 1979; “Oak Lawn Fire Station,” 1980;
     “Federal Reserve Bank,” 1980; “Trinity Methodist Church,” 1980; “Miller Shingle Style
     House,” 1981 [reprinted in Historic Dallas, 3 (Spring, 1982)]; “South Boulevard/Park Row,”
     1982 [reprinted in Historic Dallas, 3 (Summer, 1982)]; “Saint Paul United Methodist
     Church,” 1982; “Ambassador Hotel,” 1982 [reprinted Historic Dallas, 3 (Fall, 1982)];
     “Melrose Hotel,” 1983; “Majestic Theatre,” 1983; “Cedar Crest,” 1984; “Magnolia
     Building,” 1984; “Fair Park,” 1985
 “History, Philosophy, and Philosophy of History,” Texas Books in Review, 1 (1977).
 “Who Decides? Who Controls? A Perspective on Our Urban Past,” Southern Resources Center,
     The Housing and Community Development Act of 1974: Promise and Practice. A Handbook
     on Public Policy (Dallas: Southern Resources Center, 1976).

                                    Education/Curriculum
 Contributor, H-Education Electronic Network, graduate syllabuses, 2003-
 Contributor, SHARP, Electronic Network, graduate syllabus, 2003, 2005
 Contributor, H-Child Electronic Network, graduate and undergraduate course syllabuses, 1998-




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 Contributor, H-Urban Electronic Network, urban graduate and undergraduate course
    syllabuses,1994-
 Contributor, Urban History Association, Syllabus Exchange, 1990 and Syllabus Exchange II and
    Sampler, 1993

                                        General/Public
                                           Books
 Women and Public Policy: Conference Proceedings, with Carolyn L. Galerstein (Richardson:
   University of Texas at Dallas, 1977)
 Women and Public Policy: A Report, with Carolyn L. Galerstein (Richardson: University of
   Texas at Dallas, 1978)

                                      Encyclopedia Entries
 “Literacy Myths,” with John Duffy, in Literacies and Language Education, ed. Brian Street,
    Encyclopedia of Language and Education, 2nd ed. 2007; 3rd ed. 2017 (Berlin and New York:
    Springer International).
 “Literacy” in Microsoft Encarta, 1998, new entry.
 “Literacy,” The World Book Encyclopedia, 1995 and future eds.
 “Literacy,” in Microsoft Encarta
  “Illiteracy,” The World Book Encyclopedia, 1993 ed., Vol. 18, 78-79.
  “Literacy,” Funk and Wagnalls New Encyclopedia, 1983, 156-157.


                                         Book Reviews
 History of Education Quarterly (3); Acadiensis; Texas Books in Review (4); American Journal
    of Sociology (2); Labour/Le Travail; American Historical Review (4); Journal of American
    History (4); Language in Society; Journal of Interdisciplinary History (4); Journal of Social
    History (3); Canadian Historical Review; Criminal Justice History; Contemporary
    Sociology (2); Transaction/SOCIETY; American Anthropologist (2); Journal of Family
    History; Interchange; Comparative Studies in Society and History


                                       Work in Progress
 Searching for Literacy: The Social and Intellectual Origins of Literacy Studies is in press with
 Palgrave Macmillan.

 I have drafted and am revising my autobiography: The continuing education of a historian: The
 intersections of the personal, the political, the academic, and place.

 In retirement, I've developed a new "niche" in “public education” and “teaching outside the box.”

 American Historical Association
 American Association of University Professors
 Columbus Dispatch
 Various newspapers, NPR affiliates, and television stations across the US




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 Busting Myths column, Columbus Free Press
 Public office holders in Columbus, Ohio State Government, and U.S, Government
 Columbus City Government
 Faculty, students, and administrators at Ohio State University
 OSU Student Life
 Kirwan Institute for the Study of Race and Ethnicity, Ohio State University
 Zayed University, United Arab Emirates
 Other students, high school to graduate school
 International historical researchers
 Morgan Harper for Ohio
 State Board of Education members
 Public Education Partners
 Honesty in Ohio Education
 Red Wine & Blue
 Moms Demand Action



 Research and Teaching Interests
 Historical and Contemporary Studies of Literacy; Modern North American and Western
 European (comparative) Social History; United States and Canadian History; History of the
 Family and Women; Urban History; History of Social Policy; History of Social Institutions;
 History of Population and Social Structure; Nineteenth-Century Society and Culture; History of
 Literacy; History of Children, Adolescents, and Youth; History of Education; Public and
 Applied History; Local and Community History; Approaches/Methods in History; Theory and
 Method in the Humanities and the Social Sciences

 [Information on student theses and dissertations available on request]

 Additional Professional Experience
                                              Academic
 Canadian Social History Project, Ontario Institute for Studies in Education and University of
    Toronto, consultant, 1973-1975
 Conference on Quantitative History and Psychohistory (sponsored by the Mathematics Social
    Science Board, National Science Foundation), coordinator (with Paul Monaco), 1977
 Journal of Family History, Bibliographic Project, consultant, 1977-1979
 National Endowment for the Humanities, reviewer and panelist, 1977- ; consultant, 1978-
 Workshop on Women in Higher Education, Texas A&M University, College Station, Texas,
    university representative, 1978
 Historical Atlas of Canada, consultant, 1979-1982
 Newberry Library: Fellow; Research Associate; Fellowship Committee; Family and
    Community History Center Associate, 1979-1981; fellowship reviewer, 1979-
 Newberry Library Renaissance Conference, Advisory Committee, 1981-1982
 President’s Commission for a National Agenda for the Eighties, consultant, 1980
 National Institute of Education, consultant, 1980-



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 Fertility Determinants Project, Indiana University, consultant, 1983
 Annenberg School of Communications, University of Southern California, Annenberg Scholars
     Program, 1983
 NEH Implementation Grant, University of Texas at Dallas, “The Art of Translation in an
     Interdisciplinary Curriculum: Re-Creative Dynamics in the Humanities”,
     consultant/instructor, 1983-87
 American Antiquarian Society, Program on the History of the Book in American Culture,
     Advisory Board, 1985-1988, 1988-1991
 Humanities Institute, Simon Fraser University, consultant “The Story of Literacy,” television
     series project (proposed), conference planning, and other projects, 1985-
 United States Working Group, International Commission for the History of Social Movements
     and Social Structures, and International Congress on Historical Sciences, member, 1990
 Everyday Literacy Practices In and Out of Schools in Low Socioeconomic Urban Communities
     Project, Griffith University, Australia, consultant,1993-
 A Study of Effectiveness in Prison Education, Simon Fraser University, Graduate Liberal Studies
     Program, consultant, l993
 Resource member, UNESCO/UNESCO Institute of Education Literacy Exchange Network,
     1994-
 H-Urban (H-Net Humanities and Social Sciences Online), Board of Advisors, 1995-
 Great Cities Program, Electronic Network, University of Illinois at Chicago and H-Net, Advisory
     Board, 1995-2002
 Great Cities Project, University of Illinois at Chicago and H-Urban, “The History of Community
     Organizing and Community-Based Housing and Economic Development in an International
     Context,” on-line seminar, International Advisory Board, 1995-99
 Stanton Sharp Symposium on the History of the Family, Southern Methodist University, advisor,
     1996-
 William P. Clements Center for Southwest Studies, Department of History, Southern Methodist
     University, Fellow, 1996-
 Signs: Journal of Women in Culture and Society, special issue on “Feminisms and Youth
     Culture,” advisor and manuscript reviewer, 1996-
 H-Childhood (H-Net Humanities and Social Sciences Online), Board of Advisors, 1998-
 Chicago Historical Society, “Teen Chicago,” principal academic adviser, 2001-2004
     a multi-year project in the history of teens, oral history, public programming, publications,
     and transformation of the roles of young people in museums and historical societies [see
     below]
 The Child: An Encyclopedic Companion (University of Chicago Press, 2009), Advisory Board,
          2001-2009
 Urban History Association, Board of Directors, 2002-04
 “Literacy, Religion, Gender, and Social History: A Socio-Cultural History for the 21st Century.
     An International Conference for Egil Johansson,” Vadstena, Sweden, May, 2002, co-
     organizer, coordinator, and speaker, with scholars in Sweden, Australia, and Canada, with
     support from the Swedish Bicentennial Research Fund to University of Linköping (Bengt
     Sandin)
 University of California, Berkeley, Center for Children and Youth Policy and Department of
     History, Conference on Rethinking Child Development, October, 2005, one of a series of




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     small conferences to bring together historians and social scientists on the subject of
     childhood, 2005-
 McGill University, Arts Faculty Humanities Program and Interdisciplinary Studies Review,
     External Expert, 2007
 Communications and Society Program of the Aspen Institute for the Knight Commission on the
     Information Needs of Communities in a Democracy, Advisory Board, 2008-
 Carnegie Mellon University, Department of History, President’s AdvisoryBoard, 2008-
 Bedford Bibliography for Teachers of Writing, consultant, 2010
 National Public Radio, Radiolab program, interview on the origins of cities, 2010
 Scientific Committee of I SIHELE 2010, International Seminar on History of Teaching Reading
         and Writing, theme: "The constitution of the field of history of literacy in Brazil."
         promoted by Gphellb–Research Group "History of Teaching Language and Literature in
         Brazil”, Faculty of Philosophy and Sciences, Post-Graduate Program in Education at
         Universidade Estadual Paulista - Campus Marilia, Brazil, member, 2010
 Advisory Board, Museum of Writing, online collaborative project, Institute of English Studies,
   University of London, and Faculty of Information Studies and University Library, University
   of California, Los Angeles, 2010-
 Scientific Committee, ABAlf-Brazilian Congress on Literacy, “The meanings of literacy in
         Brazil: what we know, what we do and what want?” and Il SIHELE-International
         Seminar on the History of Teaching Reading and Writing, “Methods and teaching
         materials in the history of the initial teaching of reading and writing in Brazil,” 2013
         Scientific Committee, I CONBAlf (Brazilian Congress on Literacy)—Associacao
         Brasileira de Alfabetizacao (Brazilian Association of Literacy), 2015
 External reviewer: National Endowment for the Humanities; Newberry Library; Center for
     Advanced Studies in the Behavioral Sciences; National Institute of Education; Social
     Sciences and Humanities Research Council of Canada; American Council of Learned
     Societies; Center for English Language Achievement (CELA), SUNY at Albany; Montana
     State University; Spencer Foundation, Major Grants
                                               Editorial
 Interchange: A Quarterly Review of Education, Editorial Board, 1974-1975; Corresponding
     Editor, 1975-1976; Consulting Editor, 1985-
 History of Education Quarterly, Editorial Board, 1979-1983
 Historical Methods, Editorial Board, 1987-1989
 Interdisciplinary Perspectives in Social History Series, State University of New York Press,
     General Editor, 1979-85 [3 books published]
 Interdisciplinary Studies in History Series, Indiana University Press, General Editor, 1982- [19
     books contracted; 11 published]
 State University of New York Press, consultant, 1979-85
 Garland Publishing, Inc., consultant, 1979-1981
 Indiana University Press, consultant, 1982-
 Wayne State University Press, consultant, 1985-89
 Wilson Quarterly, special issue on literacy, advisor, Spring, 1986
 Studies in Written Language and Literacy, John Benjamins Publishing Company, Amsterdam,
     Editorial Board, 1992-
 Social Science History, Editorial Board, 1994-1997
 Historical Social Research/Historische Sozialforchung (Germany), Consulting Editor, 1998-



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 Literacy and Numeracy Studies: An International Journal (Australia), International Editorial
     Board, 1998-
 Journal of Language, Identity, and Education, Editorial Board, 2000-2007
 American Periodicals, Editorial Advisory Board, 2005-
 Computers & Composition Digital Press (CCDP), International Editorial Board, 2007-
 Literacy in Composition Studies, Founding Editorial Board, 2012-
 Book and Manuscript Reviewer: History of Education Quarterly; Journal of American History;
     Histoire sociale/Social History; American Historical Review; Southwestern Historical
     Quarterly; American Journal of Sociology; Texas Books in Review; Journal of Family
     History; Social Science History; William and Mary Quarterly; Historical Methods; Journal
     of Social History; Journal of Library History/Libraries and Culture; Educational Studies;
     Journal of Interdisciplinary History; Canadian Historical Review; Curriculum Inquiry;
     Acadiensis; Contemporary Sociology; Labour/Le Travailleur; Language in Society;
     Criminal Justice History; Society; American Anthropologist; American Ethnologist;
     Interchange; Journal of Modern History; Historical Studies in Education; Proceedings,
     American Antiquarian Society; American Literature; Journal of Higher Education; Journal
     of the History of the Behavioral Sciences; Journal of Urban History; Urban History;
     Victorian Studies; Signs; Library Quarterly; Journal of Educational Thought; Journal of
     Language, Identity, and Education; CCC; Cornell University Press; University of Chicago
     Press; University of Wisconsin Press; State University of New York Press; Indiana
     University Press; Cambridge University Press; Academic Press; Oxford University Press;
     University of Tennessee Press; Plenum Publications; Sage Publications; Southern
     Methodist University Press; Northern Illinois; University Press; Wayne State University
     Press; Houghton Mifflin; University of Pennsylvania Press; University of Massachusetts
     Press; Rutgers University Press; Columbia University Press; Greenwood Publishing;
     University of Pittsburgh Press
                                           University
 University of Toronto and Ontario Institute for Studies in Education, Department of History
    and Philosophy of Education, 1970-1975: Research Assistant; Member: General Assembly,
    departmental committees (admissions, searches, orientation, evaluation, research and
    development, programmes and graduate studies, nominating, library, admissions policy)
 University of Texas at Dallas, 1975-1998
    Member: School and College of Arts and Humanities; Faculty associate: School of Social
    Science and School of General Studies (years vary); Graduate faculties in Arts and
    Humanities, Education, Interdisciplinary Studies
    University-wide: Council on Teacher Education; Teacher Certification Review Team in
    History and English; Task Force on Role and Scope of Teacher Education; Faculty Senate
    Election Committee; Search Committees; Women’s Studies Committee; Committee on
    Women’s Archive and Research Collections; Committee on Student Fellowships and
    Scholarships (Chair, 1983-84); Committee on Research; Urban Studies Group; Dallas
    Research Group; Association of Women Faculty (Member and Speakers Committee);
    Faculty Review Committees; Accreditation Self-Study, Graduate Studies Committee;
    Committee on Parking and Security; Library Committee; J. Erik Jonsson Papers, advisor
    School of Arts and Humanities: Committee on Teacher Education; Faculty Agenda
    Committee and Parliamentarian; Search Committees (and chair); Target-of-Opportunity
    Search Committees (and chair); College Steering and Interdisciplinary Studies Committees;



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    Community College Liasion; Graduate Advisory Board and Planning Committee;
    Committee on Urban History; Graduate Studies Committee; Advisory Committee on Law
    and Human Values Program; Faculty Ad Hoc Review Committees (and chair); Faculty
    Personnel Review Committee; Committee on Grants and Development; Committee on
    Graduate Student Assistantships; Course and Curriculum Committee; Task Force on
    Undergraduate Studies; Cecil Green Lectures Committee; Core Curriculum Committees
    (and chair); Planning and Budget Committee; Library Development Committee;
    Nominating Committee; Grant Proposal Committees
 Simon Fraser University, 1981-
    Consultant, Humanities Institute conferences and programs, external studies programs;
    Special Arrangements Doctoral Committee member
 University of Texas at San Antonio, 1998-2004
 Director, Division of Behavioral and Cultural Sciences, 1998-1999
 Member: Department of History; Doctoral faculty and Doctoral Studies Committee, Ph.D.
    Program in Culture, Literacy, and Language, Division of Bilingual and Bicultural Studies;
    Doctoral Faculty, Ph.D. Program in English; Graduate Faculty, Department of Public
    Administration (Urban Studies); Learning Community and Freshman Seminars for
    Undergraduate Studies faculty
 Division Faculty Review Advisory Committee; Division Periodic Performance Evaluation
    (Post-Tenure Review) Committee and Chair; Division Scholarship Committees
 History Faculty Search Committees; Department Restructuring Committee; Department By-
    Laws Committee; Department Faculty Review Advisory Committee and Chair; Department
    Periodic Performance Evaluation (Post-Tenure Review) Committee; Graduate Program
    Admissions Committee; Library Liaison for History; Graduate Studies Advisory Committee;
    M.A. Comprehensive Examination Committees and Chair; MA Thesis Committees and Chair
 Department of Public Administration Search Committee
 Ph.D. in Public Policy Program Committee
 Doctoral Program in Culture, Literacy, and Language Doctoral Studies Committee; Qualifying
    Exam Committees; Dissertation Committees
 College of Education and Human Development, Faculty Review Advisory Committee
 University Faculty Review Advisory Committee
 The Ohio State University, 2004-
 Ohio Eminent Scholar in Literacy Studies, Professor of English and History; Faculty Associate,
        Department of Comparative Studies
 Faculty affiliate: Diversity and Identity Studies Collaborative; Humanities Institute; International
    Poverty Solutions Collaborative, A University Center for Innovation; Mershon Center for
    International Security Studies; Center for Medieval and Renaissance Studies; Kirwan
    Institute for the Study of Race and Ethnicity; Project Narrative
 Department of English; Rhetoric, Composition, and Literacy section; American Literature before
    1900 section; Politics and Culture section; Senior Faculty Selective Investment Search
    Committee; Associate Professor reviews; Nominated for Professor of the Year, Graduate and
    Undergraduate, 2005, Graduate, 2006, Gradutate, 2007; Promotion and Tenure Committee;
    Graduate Studies Programs and Policies Committee , Presidential Fellowships Subcommitte;,
    Estrich Award Subcommittee; Diversity Committee; MA Exams Revision Committee;
    Awards and Nominations Committee




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 Department of History; American and European History; Curriculum Constellations; Modern
    America Initiative, 2008-
    Advisory Committee, Center for Historical Research (CHR), Family, Kinship and
    Households: New Perspectives
 Popular culture faculty
 Doctoral Student Adviser and Supervisor, Examination Committee Chair and Member; Doctoral
    Dissertation Director and Committee Member, Doctoral Dissertation Defense Committees;
    M.A. Examination Committees, Dance, English, History, Education
 Director, Literacy Studies @ OSU and Literacy Studies Working Group, Institute for
    Collaborative Research and Public Humanities and College of Humanities, campus-wide
    interdisciplinary literacy initiative: working groups, public programs and visiting speakers
    series, Graduate Interdisciplinary Specialization/minor, university-wide graduate students
    interdisciplinary seminar, History of the Book group, international interdisciplinary graduate
    student conference Expanding Literacy Studies (2009), registered student society, and
    related activities, 2004-
 Member, Advisory Board, Building Public Space Initiative, Institute for Collaborative Research
    and Public Humanities
 Director and advisor, Graduate Interdisciplinary Specialization (minor) in Literacy Studies (final
    approval, 2007)
 Faculty Adviser and Coordinator, International, Interdisciplinary Graduate Students Conference,
    Expanding Literacy Studies, for and by graduate students, The Ohio State University, April
    3-5, 2009
 Faculty Adviser, Graduate Students Interdisciplinary Literacy Studies Organization; Appalachian
    Literacy GradGroup; History of the Book GradGroup
 Organizer and member, History of the Book Group; History of Reading, Writing, and Book Arts
    Working Group, sponsored jointly by the Institute for Collaborative Research and Public
    Humanities and Literacy Studies @ OSU
 Working Group on Public Humanities, Institute for Collaborative Research and Public
        Humanities
 The Neighborhood Institute, working group of the Institute for Collaborative Research and
        Public Humanities, Advisory Board
 Working Group on the Future of the University
 Civic Engagement Committee, College of the Arts and Sciences
 University-wide:
    President’s and Provost’s Advisory Council
    Ohio State Teaching Enhancement Program (OSTEP) Steering Committee
    Committee to Select Distinguished University Lecturers, 2005-07, chair
    University Council on Literacy Studies, founding member
    Working Group on Revising Undergraduate Education
    Doctoral Dissertation Defense Committees, 2005-
 External Reviewer and Evaluator, Tenure and Promotion: Simon Fraser University;
    University of Minnesota; Stockton State College; Indiana University (6); Ohio University
    (2); Wellesley College; University of Michigan (2); Stanford University; Georgia State
    University; Royal Melbourne Institute of Technology; University of California at Los
    Angeles (2); Bowling Green State University; University of Wisconsin-Milwaukee;




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    University of Toledo; Ohio State University Library; Arizona State University; University of
    Notre Dame, University of Michigan, University of Illinois
 External Evaluator, Theses and Dissertations: Southern Methodist University; Simon Fraser
    University, Canada; University of New South Wales (Aust.); James Cook University
    (Aust.); University of Technology Sydney (Aust.)
                                        Public History: General
 Potomac Educational Resources, Inc.: A Research and Consulting Group for Educational Policy
      and Public History, Advisory Board of Scholars, 1979-87
 New Hampshire Humanities Council, “Literacy: Myths and Legacies” Conference, advising
      humanist, 1989-91; Keynote Speaker and panelist, 1991
 Conference on Humanistic Perspectives on Public Policy, Texas Committee for the Humanities
      (TCH), San Antonio, university representative, 1976
 Texas Committee for the Humanities (NEH), consultant, 1976-
 Conference on Women and Public Policy, Dallas (sponsored by TCH), coordinator, 1976
 Texas Coalition for Juvenile Justice Reform, Program on Status Offenders (sponsored by TCH),
      consultant, Advisory Board, discussant, 1977
 Dallas Public Library, Humanities Resources Information System Project (sponsored by NEH,
      NSF, TCH), Advisory Board; Humanities Involvement Group; consultant, 1977-1979;
      Dallas and Texas History Division, Advisor, 1984-89
 “It Made a Difference”: Women in Texas History Project, consultant, 1979-1982
 Chicago Metro History Fair, final fair judge, 1980
 Illinois Humanities Council, consultant, 1980-1981
 Handbook on Texas Women, advisor, 1983-
 Handbook of Texas History, advisor, 1984-85
 Folklore Media Center, Dallas, Advisory Board, 1984-89
 Italian National Radio, “America Coast to Coast,” commentator, 1984, 1987
 Pictorial History of Texas Jews, Advisory Board, 1988-90
 Louisiana State University at Shreveport, Master of Arts in Public History program, advisor,
      1992-
 Fort Worth Museum of Science and History, Texas History Gallery, Advisory Board, 1992-
 University of Adelaide, Australia, Radio, 1993
 San Antonio History Fair, judge, 2000-
 Dallas Times Herald; Dallas Morning News; San Antonio Express-News; [London]Times
      Educational Supplement; KERA-Channel 13, Dallas; National Public Radio, The Nation,
      HuffingtonPost, HuffingtonPostLive resource and contributor
 KERA-90.1 FM (NPR Dallas), advisor
 San Antonio History Website Development Project (NEH grant to UTSA), Advisory Group,
      2001-
 Chicago Historical Society, “Teen Chicago,” principal academic adviser, 2001-2004
      a multi-year project in the history of teens, oral history, public programming, publications,
      and transformation of the roles of young people in museums and historical societies, with
      funding from the Joyce Foundation, Elizabeth Morse Charitable Trust, Chicago Community
      Trust, Nathan Cummings Foundation, Field Foundation of Illinois; James S. Kemper
      Foundation, Illinois Humanities Council, and National Endowment for the Humanities;
      American Association of Museums Excellence in Education Award and Muse Award (Media
      & Technology) Honorable Mention, 2005



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 LifeTimes/Everyday Life in America: A New Way of Doing History, Scholarly Advisory Board,
     2002-
 NPR Chicago, Series on Children and Adolescents, adviser, 2003-
 Radio and television talkshows, interviews, moderator
                                          Community/Local
 Dallas Social History Project, director, 1975-1979
 Texas local and regional historical societies and groups, consultant and advisor, 1976-
 Southern Resource Center, Dallas, Project on the Community Development Act of 1974 and the
     East Dallas Community, sponsored by the Texas Committee for the Humanities (TCH),
     consultant and humanist, 1976
 Fuerza de los Barrios, Fort Worth, Trinity River Project (sponsored by TCH), consultant and
     humanist presenter, 1976
 Research Group on School Desegregation, White Flight and Busing, Dallas, 1976-1978
 Kaplan, Gans, and Kahn, Consultants, 1976-1978
 Dallas Historical Society: Consulting Historian, 1976-89; “A Return to the Neighborhoods”
     Project, Advisory Board, 1977-1979; Seminar on Community History, historian and speaker,
     1982
 Collaborative Approach to Services for the Elderly, University of Texas Council of Presidents,
     resource person, 1977-
 City of Dallas, Historic Landmark and Preservation Committee, Historic Marker Taskforce,
     1977-1981; Publicity Taskforce, 1981-85; author, landmark brochures, 1977-85; Archives
     Committee, 1983-88
 Dallas-area Social History Group, founder and coordinator, 1981-88
 Historic Dallas (Historic Preservation League), correspondent, 1981-1983
 Historic Preservation League, Dallas, advisor; Neighborhoods Book Committee, 1983-86
 North Texas Phi Beta Kappa Association, Committee on Awards, Special Projects Committee,
     1981-84; Vice President, 1982-1984; President, 1984-86
 Phi Beta Kappa — Dallas Public Library, Annual Lecture on Culture and the City, Founder and
     Chair, Advisory Committee, 1983-87
 “Folk Life in Dallas,” (TCH), humanities advisor and speaker, 1983
 Dallas Sesquicentennial Commission, Historical Publications Committee, 1984-86
 Dallas Historical Society and Alpha Xi Omega, HRA, Inc. of Alpha Kappa Alpha Sorority,
     “Black Dallas Remembered” Oral History Project, consultant; presenter, public forums,
     1985-87
 Dallas Public Library, Symposium on Dallas Past and Present, advisor, coordinator and
     participant, 1986
 Dallas Jewish Historical Society, Advisory Board, 1987-98
 Concepts International, Dallas, consultant, 1989
                                    Media/Film/Education
 Knowledge Network (British Columbia, Educational Television), presenter/ interviewee, 1981
 “West of Hester Street” (Cinema docudrama on the Galveston Movement, 1907-1910), featured
    extra, 1982
 KERA-90.1 FM (NPR), advisor on news programs
 KERA, Channel 13 (PBS), Dallas, “News Edition,” commentator, 1983-86




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 KERA Television, “Legacies of the Land: A Documentary on the Myths, Legends, and
    Traditions of Texas” (TCH), Advisory Board, 1983-85
 Dallas County Community College District and Harper and Row, Telecourse: “The American
    Adventure,” consultant and participant/interviewee, 1985-86 (26 half-hour programs for 600
    colleges in 45 states and PBS Adult Learning Network)
 KERA, Channel 13 (PBS), Family Project, Advisory Board, 1991-92; “A Better Childhood
    (ABC) Quiz,” 1991, chief advisor and commentator (Katherine Ripley Award for Electronic
    Media, Planned Parenthood of Dallas and Northeast Texas; Matrix Award, Dallas
    Professional Chapter of Women in Media; Silver Award for Local Programs, Corporation
    for Public Broadcasting); “First Steps,” 1992, principal advisor, radio commentator
 “A History of American Teenagers in the Twentieth Century,” Steven Alves, Hometown
    Productions, producer, documentary series in development, Board of Advisors and Project
    Scholar, 1996- (funded by NEH)
 “Rewriting Literacy,” documentary film series, Board of Advisors and Project Scholar, 1998-
    (proposed to NEH and others)
 National Public Radio, “The Changing Face of America” national initiative, New Media
    Division, Talk of the Nation, All Things Considered, Morning Edition, 2000-2001, adviser,
    consultant, and electronic discussion moderator
 NPR Chicago, Series on Children and Adolescents, adviser, 2003-04
 Exhibiting Adolescence/Adolescents—experimental graduate seminar, University of Texas at
    San Antonio, 2004, exploring different approaches to “exhibiting” adolescents and
    adolescence, with the assistance of the Witte Museum, San Antonio, and the Chicago
    Historical Society
 “Drop Out Nation The Death of the American Dream,” documentary film, Public Broadcasting

    Council of Central New York,” Syracuse, reviewer, 2010

                                       Other Educational
 Women for Change, Inc., Dallas, Seminar on Education, humanist panelist, 1975
 Eastfield Colege, Division of Humanities, Dallas County Community College District,
    consultant, 1978
 Conference on Quality Education for Black Students in Texas, Austin (sponsored by TCH),
    consultant and humanist panelist, 1976
                                 Professional Society Activities
 Canadian Association for American Studies, Executive Committee, student member, 1972-1975;
    Program Committee, 1974
 American Educational Research Association, Program Committee, Division F (Historiography),
    1973
 Canadian Population Studies Group, Steering and Program Committees, 1974-1976
 History of Education Society, Nominating Committee, 1976, 1979
 Southwest Coordinating Committee on Women in the Historical Profession, coordinator, 1977-
    1979
 Social Science History Association, Regional Network Coordinator, 1976-84; Program
    Committee, 1980; Allan Sharlin Memorial Award Committee, founding chair, 1984-85,
    member, 1984-86; Executive Committee, 1987-89; Vice President and President-Elect,
    1998-99; President, 1999-2000; member Executive Committee, 2000-2003; ex-officio



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    member, Search Committee for New Editor of Social Science History; ex-officio member,
    Committee on the Future of SSHA [As SSHA President in 1999-2000, I presided over the
    25th anniversary of the organization. Entitled “Looking Backward and Looking Forward:
    Perspectives on Social Science History,” the program featured both a celebration and a
    critical stock-taking. A number of special activities marked the occasion which was also
    reflected in my Presidential Address. I also established the Committee on the Future of
    SSHA which reported in 2001]
 Urban History Association, Board of Directors, 2002-04
 Society for the History of Children and Youth, Executive Committee, 2003-07
                                   Conference Session Chairing
 Little Community Conference, Brandeis University, 1972
 History of Education Society, Chicago, 1973; Cambridge, Mass., 1976; Toronto, 1977;
     Chicago, 1978; Vancouver, 1983; Chicago, 1984
 Canadian Association for American Studies, Ottawa, 1974
 Canadian Historical Association, Edmonton, 1975
 Southwestern Social Science Association, Houston, 1978
 Social Science History Association, Cambridge, Mass., 1979; Rochester, 1980; Bloomington,
     Ind., 1982; Washington, D.C., 1983; Toronto, 1984; St. Louis, 1986; New Orleans, 1987;
     Chicago, 1988; Washington, D.C., 1989; Minneapolis, 1990; New Orleans, 1991; Chicago,
     1992; Baltimore, 1993; Atlanta, 1994; Chicago, 1995; New Orleans, 1996; Washington,
     D.C., 1997; Chicago, 1998; Fort Worth, 1999; Pittsburgh, 2000; St. Louis, 2002;
     Baltimore, 2003; Chicago, 2004; Portland, 2005; Minneapolis, 2006; Chicago, 2007; Long
     Beach, 2009; Chicago, 2010; Boston, 2011; Vancouver, 2012; Chicago, 2013; Toronto,
     2014; Baltimore, 2015
 American Studies Association, Kansas City, 1996
 Society for the History of Children and Youth, University of Maryland, Baltimore County, 2003;
     Marquette University, Milwaukee, 2005; Linköping University, Norrköping, Sweden, 2007;
     University of California, Berkeley, 2009; Columbia University, New York, 2011
 American Studies Association of Texas, San Antonio, 2003 [students in my Fall 2003 doctoral
     seminar English 7063 presented their work on a panel entitled “Reading Critically the
     Sources of Children and Childhood: Literary and Historical Perspectives.” I chaired the
     session. At the conference’e end, this was designated an “outstanding session”]
 Urban History Association, Tempe, Arizona, 2006

 Lectures and Papers
                                   Conference Participation
 The Little Community Conference, Brandeis University, 1972
 History of Education Society, Chicago, 1973
 Canadian Association for American Studies, Ottawa, 1974
 Canadian Historical Association, Edmonton, 1975
 Women for Change, Seminar on Education, Dallas, 1975
 Time, Space, and Man: Interdisciplinary Symposium on Microdemography in Historical
    Perspective, Umeå, Sweden, 1977
 Fort Worth Committee for the Humanities and Texas Coalition for Juvenile Justice, Juvenile
    Justice and the Community, Fort Worth, 1978
 Social Science History Association, Cambridge, Mass., 1979



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 Conference on Literacy in Post-Reformation Europe, University of Leicester, England, 1980
 Library of Congress Center for the Book-National Institute of Education, History of Literacy
     Conference, Washington, D.C., 1980
 American Antiquarian Society, Conference on Printing and Society in Early American,
     Worcester, Mass., 1980
 Social Science History Association, Rochester, 1980
 Bard College Conference on Crisis in Literacy: Cultural Hard Times, invited speaker, 1981
 Simon Fraser University, SITE Program on Literacy, 1981
 History of Education Society, Pittsburgh, 1981
 Social Science History Association, Nashville, 1981
 Tenth World Congress of Sociology, Mexico City, 1982
 Wellcome Institute for the History of Medicine, Conference on Medicine, Printing, and Literacy
     in the European Renaissance, London, 1982
 Social Science History Association, Bloomington, Ind., 1982
 Dallas Public Library, Folklife in Dallas, 1983
 Annenberg School of Communications, University of Southern California, Creating Meanings:
     The Literacies of Our Times, 1984
 International Commission for the Application of Quantitative Methods to History, The
     Transformation of European Society, Rockefeller Conference Center, Bellagio, Italy, 1984
 Social Science History Association, Chicago, 1985
 Ontario Institute for Studies in Education, University of Toronto, 20th Anniversary Cutting Edge
     of Educational Research Conference, 1985
 International and Comparative Education Society, Toronto, 1986
 Dallas Public Library, Symposium on Dallas Past and Present, 1986
 Social Science History Association, St. Louis, 1986
 Social Science History Association, New Orleans, 1987
 Simon Fraser University, Institute for Humanities, Conference on The Legacy of J. S.
     Woodsworth and the Welfare State in Canada, 1988
 Social Science History Association, Chicago, 1988
 Library History Seminar VIII, Bloomington, IN, Distinguished Plenary Address, 1990
 Canadian History of Education Association, Biennial Meeting, Ottawa, Distinguished Speaker,
     1990
 Social Science History Association, Minneapolis, 1990
 Conference on American Urban History, Chicago Historical Society, 1990
 Bard College Conference on Education for Complexity in the 21st Century, invited speaker,
     1991
 International Conference on Attaining Functional Literacy: A Cross-Cultural Perspective,
     Tilburg University and The Netherlands National Commission for UNESCO, Keynote
     Speaker, 1991
 Social Science History Association, New Orleans, 1991
 New Hampshire Humanities Council Conference on Literacy, Myths, and Lessons, Keynote
     Speaker, 1991
 Seminar on Children and the History of Childhood, Department of Child Studies, Tema,
     Linköping University, Sweden, 1992
 Conference on Adult Literacy: An International Urban Perspective, The United Nations
     [UNESCO, CUNY, and New York City]: Keynote Speaker, 1992




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 Social Science History Association, Chicago, 1992
 American Educational Research Association, Special Interest Group on Basic Research on
     Reading and Literacy, Atlanta, Invited Address, 1993
 Conference on Writing and Reading in Western Europe: Its Nature, Functions, and Conflicts,
     Universidad Internacional Menendez Pelayo, Valencia, Spain, opening lecture, 1993
 Conference on Literacy and Power: Difference, Silence and Textual Practice, Griffith University,
     Brisbane, Australia, Plenary Address, 1993
 Institute on Literacies, Language and Social Justice, Melbourne, Plenary Address, 1993
 Australian Reading Association, First International Meeting, Literacy for the New Millenium,
     Melbourne, Keynote Speaker, 1993
 Social Science History Association, Baltimore, 1993
 Social Science History Association, Atlanta, 1994
 Emory University Graduate Institute for the Liberal Arts and Dana Foundation Workshop for
     Teachers on Narrative and Education, 1994
 Social Science History Association, Chicago, 1995
 Stanton Sharp Symposium on the History of the Family, Southern Methodist University, 1996
 Social Science History Association, New Orleans, 1996
 American Studies Association, Kansas City, 1996
 Association of Graduate English Students, Kent State University, Fourth Annual National
     Graduate Student Conference, Intersections in English Studies, keynote speaker, 1997
 Social Science History Association, Washington, D.C., 1997
 Social Science History Association, Chicago, 1998
 The University and the City: Urban Education and the Liberal Arts, Wayne State University,
     1999
 Social Science History Association, Fort Worth, 1999
 Conference on College Composition and Communication (CCCC), Annual Meeting, Educating
     the Imagination and Reimagining Education, Minneapolis, featured speaker, 2000
 Institute for Literary History and National Conference, Prospero’s Plots and Caliban’s Critique:
     Literacies, Texts, and Nationalisms in the New World, Miami University (Ohio), featured
     speaker and discussant, 2000
 Social Science History Association, Looking Backward and Looking Forward: Perspectives on
     Social Science History, Presidential Address and Presidential Sessions, Pittsburgh, 2000
 Social Science History Association, Chicago, 2001
 “Literacy, Religion, Gender, and Social History: A Socio-Cultural History for the 21st Century.
     An International Conference for Egil Johansson,” Vadstena, Sweden, May, 2002, co-
     organizer and coordinator, speaker and session chair
 Social Science History Association, St. Louis, 2002
 Society for the History of Children and Youth, Baltimore, 2003
 Social Science History Association, Baltimore, 2003
 Conference on College Composition and Communication (CCCC), Annual Meeting, Educating
     the Imagination and Reimagining Education, San Antonio, featured speaker with Deborah
     Brandt, 2004
 Western States Rhetoric and Literacy Conference, “Big Rhetorics, Big Literacies: The
     Discourses of Power,” Arizona State University, keynote address, 2004
 Conference on “From Woodblocks to the Internet: Chinese Publishing and Print Culture in
     Transition,” Ohio State University, keynote address, 2004




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 Social Science History Association, Chicago, 2004
 National Council of Teachers of English Assembly for Research Conference, “Literacies Across
    Time, Space, and Place: New Directions in Literacy Research for Political Action,” Keynote
    Address with Deborah Brandt, Ohio State University, 2005
 Conference of the Society for the History of Children and Youth, Milwaukee, 2005
 University of California, Berkeley, Conference on Rethinking Child Development, 2005
 Social Science History Association, Portland, 2005
 Urban History Association, Tempe, Arizona, 2006
 Social Science History Association, Minneapolis, 2006
 Society for the History of Children and Youth, Linköping University, Norrköping, Sweden, 2007
 Social Science History Association, Chicago, 2007
 Conference on College Composition and Communication (CCCC), Annual Meeting, Writing
    Realities, Changing Realities, New Orleans, 2008
 Conference on Politics, Activism and the History of America’s Public Schools: Marking the 40th
    Anniversary of Michael B, Katz’s The Irony of Early School Reform, University of
    Pennsylvania, 2008
 Social Science History Association, Miami, 2008
 Scope of Interdisciplinarity Conference, Athabasca University, Edmonton Alberta, Canada, 2008
 Expanding Literacy Studies International Interdisciplinary Conference for Graduate Studies,
    Columbus, 2009: plenary session in recognition of the 30th anniversary of the publication of
    The Literacy Myth
 Twentieth Anniversary Seminar on Child Studies at the Department of Child Studies, Linköping
    University, Sweden, 2009
 Society for the History of Children and Youth, University of California, Berkeley, 2009
 Social Science History Association, Long Beach, California, 2009
 Gartner Honors Lecture, Southern Methodist University, 2010
 "The Literacy Myth Now Thirty Years Old Revisited," a forum on Graff's The Literacy Myth,
    Humanities Institute, Simon Fraser University, Vancouver, Canada, 2010
 A Symposium on Critical Perspectives on Understanding Literacy in a Technological Age,
        British Columbia Institute of Technology, Vancouver, 2010, keynote address
 Social Science History Association, Chicago, 2010
 Society for the History of Children and Youth, Columbia University, New York, 2011
 Social Science History Association, Boston, 2011
 Masters of City and Regional Planning, CRP OneBook Program, and SPA Student Association
     Invitee & Lecturer, University of Texas at Arlington, 2011
 Conference on College Composition and Communication (CCCC), Annual Meeting, featured
    speaker, Writing Gateways, St. Louis, 2012
 Social Science History Association, Vancouver, 2012
 Social Science History Association, Chicago, 2013
 Social Science History Association, Toronto, 2014
 IV Colóquio Internacional Letramento e Cultura Escrita (4th International Conference of
    Literacy and Written Culture), Minas Gerais, Brazil, 2014, keynote
 CIC Conference on Graduate Education in the Humanities, Keynote Speaker, Penn State
    University, 2015
 Social Science History Association, Baltimore, 2015




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 Michael B. Katz, His Contribution and Legacy to Social Science History and Beyond, special
        session, Social Science History Association, Baltimore, 2015
 Conference on College Composition and Communication (CCCC), Annual Meeting, Session on
    Harvey J. Graff, Literacy Studies, and Composition, Portland, 2017

                                  Invited Lectures and Seminars
 University of Western Ontario, 1973, 1977; Dallas organizations, 1975- ; Southern Methodist
 University, 1977; University of Texas at Dallas, 1978- ; University of Chicago, 1979, 1980;
 The Newberry Library, Chicago, 1979, 1980; University of Toronto and the Ontario Institute for
 Studies in Education, 1980; University of Delaware, 1980; University of Pennsylvania, 1980;
 Northestern Illinois University, 1980; Fairleigh Dickinson University, 1981; Indiana University,
 1981; Simon Fraser University, Canada, 1981, 1982; University of British Columbia, 1981,
 1982; Dallas Historical Society, 1982; Wellcome Institute for the History of Medicine, London,
 1982; Rice University, 1983; Stanford University, 1986; Southern Methodist University, 1988;
 American Antiquarian Society, 1989; Florida State University, 1990; Indiana University, 1992;
 Linköping University, Sweden, 1992; Stockholm University, Sweden, 1992; Umeå University,
 Sweden, 1992; Centre for Literacy, Montreal, 1993; National Literacy Secretariat,
 Multiculturalism and Citizenship Canada, 1993; Australian universities (Griffth, LaTrobe,
 Adelaide, South Australia, Macquarie, Wollongong, University of Technology-Sydney,
 Queensland Institute of Technology, Central Queensland), 1993; Simon Fraser University, 1993;
 Washington University, 1994; Georgia State University, 1994; Carleton University, Canada,
 1995; Teachers College, Columbia University, 1996; Kent State University, 1997; University
 of California at Los Angeles: Forum for Print and Electronic Culture, California Center for the
 Book, and Department of Library and Information Studies Seminar, 2000; University of
 Linköping, Sweden, 2001, 2002; University of Notre Dame, 2001; The Ohio State University,
 2004; Division of Late Medieval and Reformation Studies, University of Arizona, 2004; Center
 for Writing Studies, University of Illinois, 2005; Arizona State University, 2006, Miami
 University, Ohio, 2006; Kent State University, 2009; University of Texas at Arlington, 2009;
 Southern Methodist University, 2010; Simon Fraser University, 2010; British Columbia Institute
 of Technology, Vancouver, 2010; University of Texas at Arlington, 2011, University of
 California at Los Angeles, 2013; Federal University of Minas Gerais, Brazil, 2014; State
 University of Rio de Janeiro, Brazil, 2014; University of Calgary, 2014; Rochester Institute of
 Technology, 2016; Southern Methodist University, 2016



 Biographical References
 Directory of Psychosocial Investigators; Directory of American Scholars, History; Who’s Who
 in the South and Southwest; International Who’s Who in Education; Who’s Who in the
 Midwest; Current Authors; International Authors and Writers Who’s Who; Men of
 Achievement; Dictionary of International Biography; Who’s Who in American Education;




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 Who’s Who in Education; Contemporary Authors; Outstanding Scholars of the 20th and the 21st
 Century; Outstanding Intellectuals of the 20th and 21st Century; Outstanding People of the 21st
 Century; Who’s Who in Humanities Higher Education; Academic Keys; Who’s Who




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